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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA

LAURA CONKLIN,                          )                 3:18-cv-00260-MMD-CBC
                                        )
                  Plaintiff,            )                 MINUTES OF THE COURT
                                        )
        vs.                             )                 February 7, 2019
                                        )
CITY OF RENO, a municipality, et al.,   )
                                        )
                  Defendants.           )
________________________________________)


PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:         KATIE LYNN OGDEN REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       On February 7, 2019, the parties resumed settlement discussions during the continued Early
Neutral Evaluation of this case. (ECF No. 40.) The parties agreed to continue with informal
settlement discussions but will return to a resumption of the Early Neutral Evaluation on
Wednesday, March 6, 2019, at 9:00 a.m.

       On or before close of business on March 4, 2019, the parties shall deliver to the Chambers
of the Honorable William G. Cobb a joint interim report on the status of the parties’ settlement
discussions. A Reno City Council member is not required to attend the resumption of the Early
Neutral Evaluation on March 6, 2019.

       IT IS SO ORDERED.
                                                    DEBRA K. KEMPI, CLERK

                                                    By:       /s/
                                                           Deputy Clerk
